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                            U N ITED STA TES DISTRIC T C O U R T
                            SO UTH ERN DISTRICT OF FLORIDA

                              CA SE N O .19-20602-C R -G A Y LES


  UN ITED STA TES O F A M ER IC A

  VS.



  M ICHEL PROENZA M ARTINEA
                Defendant.
                                          /

                O RDER ADOPTING REPORT AND RECO M M ENDATION

         TH IS CAUSE was referred to the Honorable Alicia M .Otazo-Reyes,United States

  M agistrateJudge,pursuantto28U.S.C.j636andtheM agistrateRulesfortheSouthem District
  ofFlorida,by the HonorableDarrin P.Gayles,United StatesDistrictJudge,to take a11necessary

  and proper action as required by 1aw and/orto submit a Reportand Recomm endation to this

  Courtregarding CriminalJustice Act(û$CJA'') VoucherNo.113C.1133006 (hereafter,dTirst
  lnterim CJA Voucher'')EECF No.66)inthenmountof$17,208.40.TheM agistrateJudgefleda
  ReportandRecommendation (ECF No.681,recornmendingthatfullpaymentoftheFirstInterim
  CJA Voucherbeapproved(the1;Report'').Neitherpartytiledatimelyobjection.
         A district court may accept, reject, or modify a magistrate judge's report and
  recommendation.28 U.S.C.j 636(b)(1).Those portionsofthe reportand recommendation to
  whichobjection ismadeareaccorded denovoreview,ifthose objectionsççpinpointthe specitic
  findings thatthe party disagrees w ith.''United States v.Schultz,565 F.3d 1353, 1360(11th Cir.

  2009);see also Fed.R.Civ.P.72(b)(3).Any portionsofthe reportand recommendation to
  which nospecitk objectionismadearereviewedonlyforclearerror.LibertyAm.Ins.Grp.,Inc.
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  v.WestpointUnderwriters,L.L.C.,199F.Supp.2d 1271,1276(M .D.Fla.2001);accordMacort
  v.Prem,Inc.,208F.App'x781,784(11th Cir.2006).
          Having received no objections,the Courthas conducted a clear error review ofthe
  record and the Courtagreeswith Judge AliciaM .Otazo-Reyes'swell-reasoned analysisfnding

  thattheCJA Vouchershould beapproved.Accordingly,itis

          ORDERED AND ADJUDGED that United States M agistrate Alicia M .Otazo-Reyes

  ReportandRecommendation (ECF No.68)isAFFIRM ED AND ADOPTED and incoporated
  into this Orderby reference.
                                                                                        r
          DONE AND ORDERED in M iam i-Dade County,Florida this          day of

  2021.




                                                 DA RR IN P. A Y LE
                                                 UNITED STATES IST        CT JUDGE
